         Case 1:06-cv-01086-MHS Document 17 Filed 06/15/07 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



CARLA R. KEITH,
                      Plaintiff,                        CIVIL ACTION FILE

vs.                                                     NO. 1: 06-cv-1086-MHS

GENERAL ELECTRIC COMPANY
              Defendant.


                                       JUDGMENT

       This action having come before the court, Honorable Marvin H. Shoob, United States

District Judge, for consideration, it is

       Ordered and Adjudged that the action be DISMISSED for want of prosecution

pursuant to 41.3A(3).

        Dated at Atlanta, Georgia, this 15th day of June, 2007.



                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                  By:   s/ Harry F. Martin
                                                        Harry F. Martin, Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
June 15, 2007
James N. Hatten
Clerk of Court

By: s/ Harry F. Martin
      Deputy Clerk
